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   and Lawrence Williamson
13
14                       UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16
      CONSUMER FINANCIAL
17    PROTECTION BUREAU,                       Case No. 8:17-CV 00161
18                  Plaintiff,
19
                 v.                            REPLY TO OPPOSITION TO
20                                             MOTION TO DISMISS
21                                             COMPLAINT

22    VINCENT HOWARD, LAWRENCE                 HON. JOSEPHINE L. STATON
      W. WILLIAMSON, HOWARD LAW,
23    P.C., THE WILLIAMSON LAW FIRM,           DATE: May 26, 2017
24    LLC, AND WILLIAMSON &                    TIME: 1:30 P.M.
      HOWARD, LLP,                             PLACE: Ctrm. 10A
25
26               Defendants.
27
28
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  1         Howard Law, P.C., Williamson & Howard, LLP, The Williamson Firm, LLC,
  2
      Vincent Howard and Lawrence Williamson (collectively the “Defendants”) hereby
  3
      submit the following Reply to the Opposition filed by the Consumer Financial
  4
  5 Protection Bureau (the “CFPB”) to the Defendants’ Motion To Dismiss (the “Motion”)
  6
      all claims alleged in that certain Complaint for Permanent Injunction and Other Relief
  7
      (the “Complaint”).
  8
  9                                               I
10
               REPLY TO OPPOSITION TO CONSTITUTIONALITY ISSUE
11
12          In the Opposition, the CFPB contends that the Court need not consider the

13 Defendants’ constitutional arguments. This argument should be rejected. If in fact the
14
      CFPB is constitutionally unsound then, as a legal nullity, it lacks the power or
15
16 standing to pursue the instant case. Moreover, the CFPB’s constitutional viability is
17 currently in contest before a number of other federal courts. It is wholly appropriate,
18
      and in fact necessary from a jurisdictional perspective, for this Court to also consider
19
20 this issue in the fullest measure.
21          In the Opposition, the CFPB argues that this Court’s ruling in Consumer Fin.
22
      Prot. Bureau v. Morgan Drexen, Inc., 60 F. Supp. 3d 1082, 1087 (C.D. Cal. 2014)
23
24 (“Consumer Financial”) disposes of the Defendants’ constitutional challenge. In
25 Consumer Financial, this Court held that the CFPB was constitutionally structured in
26
   reliance upon Humphrey's Ex'r v. United States, 295 U.S. 602, 629, 55 S. Ct. 869, 874
27
28 (1935). To quote the ruling in the Consumer Financial case:

                                                  1
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  1         Humphrey's Executor is controlling in this case. Then as now, the FTC
            was empowered to prevent “unfair methods of competition in
  2
            commerce.” Id. at 620, 55 S.Ct. 869. In order to carry out this
  3         responsibility, the FTC had the power to investigate, adjudicate, and
            enforce the prohibition on unfair competition. Id. at 620–21, 55 S.Ct.
  4
            869. Despite these powers over commercial activity, the Court upheld
  5         a provision allowing for removal of commissioners only for
            “inefficiency, neglect of duty, or malfeasance.” Id. at 619, 632, 55 S.Ct.
  6
            869. Similarly, here, the Director of the CFPB may be removed by the
  7         President “for inefficiency, neglect of duty, or malfeasance,” 12 U.S.C.
            § 5491(c)(3), and the President therefore retains ample authority to
  8
            assure the Director is competently leading the CFPB in its mission to
  9         enforce federal consumer financial laws.
10
      60 F. Supp. at 1088.
11
12          The Defendants would respectfully disagree with the foregoing holding. In

13 Humphrey’s the court stated:
14
            The commission is to be nonpartisan; and it must, from the very nature
15          of its duties, act with entire impartiality. It is charged with the
16          enforcement of no policy except the policy of the law. Its duties are
            neither political nor executive, but predominantly quasi judicial and
17          quasi legislative. Like the Interstate Commerce Commission, its
18          members are called upon to exercise the trained judgment of a body of
            experts ‘appointed by law and informed by experience.’
19
20 Humphrey's Ex'r v. United States, 295 U.S. 602, 624 (emphasis added). As the
21 highlighted language indicates, the Humphrey’s court did not consider the limitation
22
      upon the president’s power to appoint and remove the commissioners to be
23
24 constitutionally fatal due to the fact that they exercised quasi-judicial and quasi-
25 legislative powers. This is made explicit in the following paragraph:
26
          We think it plain under the Constitution that illimitable power of
27        removal is not possessed by the President in respect of officers of the
28        character of those just named. The authority of Congress, in creating

                                                  2
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  1         quasi legislative or quasi judicial agencies, to require them to act in
            discharge of their duties independently of executive control cannot
  2
            well be doubted; and that authority includes, as an appropriate
  3         incident, power to fix the period during which they shall continue, and
            to forbid their removal except for cause in the meantime. For it is
  4
            quite 1evident that one who holds his office only during the pleasure
  5         of another cannot be depended upon to maintain an attitude of
            independence against the latter's will.
  6
  7 Humphrey's, 295 U.S. 602, 629.
  8
            The facts in this case are very different. Here, all of the CFPB’s power is vested
  9
      in one man, Director Cordray, 12 U.S.C. § 5512(b). By definition, where a single man
10
11 or woman controls a federal agency, the power being exercixed is solely executive.
12
      Since the director of the CFPB cannot be removed at the will of the President, this
13
14 structure deprives the President of the powers vested in this office by Article II of the
15 Constitution
16
            To the extent that the CFPB argues that Director Cordray has quasi-legislative
17
18 powers, this argument fails. When a single man or woman is vested with the power to
19 make the law and to execute the law, his or her power is purely executive. One cannot
20
      deliberate alone.
21
22          The Defendants would also submit that this concentration of power should be

23 struck down because it violates the separation of powers concept that is the foundation
24
25
26    1
    Section 5512(b) states: “The Director may prescribe rules and issue orders and
27 guidance, as may be necessary or appropriate to enable the Bureau to administer and
28 carry out the purposes and objectives of the Federal consumer financial laws, and to
   prevent evasions thereof.”
                                                 3
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  1 of Articles I, II and III of the constitution. As the Supreme Court stated in Dep't of
  2
      Transp. v. Ass'n of Am. Railroads:
  3
            At the center of the Framers' dedication to the separation of powers was
  4
            individual liberty. The Federalist No. 47, at 302 (J. Madison) (quoting
  5         Baron de Montesquieu for the proposition that “ ‘[t]here can be no
            liberty where the legislative and executive powers are united in the
  6
            same person, or body of magistrates' ”).
  7
      135 S. Ct. 1225, 1245 (2015) (emphasis added); see also Humphrey's, 295 U.S. 602,
  8
  9 629–30. (“The fundamental necessity of maintaining each of the three general
10
      departments of government entirely free from the control or coercive influence, direct
11
12 or indirect, of either of the others, has often been stressed and is hardly open to serious
13 question.”); United States v. Ballard, 12 F. Supp. 321, 325 (W.D. Ky. 1935) (“The
14
      fountain head of dictatorship is at the convergence of legislative power and executive
15
16 power.”).
17          The constitutional question posed by the CFPB’s structure is whether an agency
18
      that is controlled by a single man who exercises extraordinary executive power falls
19
20 with the exception identified in the Humphrey’s case. The Defendants would
21 respectfully submit it does not.
22
            Attached hereto as Exhibit “A” is the most recent brief filed by the United
23
24 States Government in the ongoing litigation over the CFPB’s constitutionality pending
25 before the Court of Appeals for the District of Columbia. In this brief, the government
26
   makes essentially the same arguments the Defendants have made above.
27
28

                                                 4
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  1                                             II
  2
         REPLY TO OPPOSITION RE COMPLIANCE WITH FRCP 9(b) ISSUE
  3
            The CFPB’s contention that the Complaint complies with the specificity
  4
  5 requirement in Federal Rule of Civil Procedure 9(b) ignores the core missing
  6
      elements: Allegations that identify the clients who were purportedly duped into
  7
      signing up for bankruptcy services when in fact what was really being proferred were
  8
  9 debt settlement services; who duped these clients; and when. Although the CFPB
10
      references victims and damages in the Complaint, it has failed to specify the name of
11
12 even one defrauded client, or to designate a single contractual relationship wherein
13 the bait-and-switch decepition alleged in the Complaint occurred.
14
            The CFPB apparently believes it can get away with this vague conjuration by
15
16 simply referencing the purported wrongs attributed to Morgan Drexen in the case
17 against that entity. This position is untenable. The CFPB is not seeking recourse
18
      against Morgan Drexen and none of the findings in that case can be imported into this
19
20 case individually, or en masse.
21          As the Defendants stated in the Motion, the precise “deception” that the CFPB
22
      contends violated the Telephone Sales Rule (“TSR”), 16 C.F.R. § 310 et.seq., boils
23
24 down to this:
25          When the Defendants solicited clients, and entered into separate
26          bankruptcy retainer agreements with such clients, they knew they were
            not going to perform the legal services described therein, but instead
27
28

                                                5
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  1         intended to use the “up front” payments remitted pursuant to these
            contracts for debt settlement services, in violation of the TSR.2
  2
  3 (P.18, Motion). This is a promissory fraud allegation. Although the CFPB has
  4
      attempted to plead this claim as a form of “mass tort”, on behalf of an unspecified and
  5
      unnamed body of clients, this is untenable. A promissory fraud claim, whether
  6
  7 cloaked with a statutory overlay or not, is subject to Federal Rule of Civil Procedure
  8
      9(b)3. See Hsu v. OZ Optics Ltd., 211 F.R.D. 615, 620 (N.D. Cal. 2002) (“However,
  9
 10
      2
 11     The Defendants were fully entitled solicit and to receive up front retainers and/or fees
      for bankruptcy preparation and filing legal work. This is practice is fully contemplated
 12
      under the application provisions of the bankruptcy code and it is common practice. See
 13   11 U.S.C. § 329; Fed. R. Bankr. P. 2016 and 2017; see also Matter of Leitner, 221 B.R.
      502, 503 (Bankr. D. Neb. 1998) (“Prudent counsel will not agree to pay the
 14
      bankruptcy filing fees and to file the bankruptcy case without a retainer.”)
 15   (emphasis added). Accordingly, if in fact the Defendants intended to provided the
      services promised in the bankruptcy retainer agreements, then no violation of the TSR
 16
      occurred, since there was no “deception”.
 17
      3
        Fecht v. Price Co., 70 F.3d 1078, 1082 (9th Cir. 1995) (“In a securities fraud action,
 18
      a pleading is sufficient under Rule 9(b) if it identifies the circumstances of the alleged
 19   fraud so that the defendant can prepare an adequate answer.” Kaplan v. Rose, 49 F.3d
      at 1370. This notice requirement is satisfied by allegations of the “time, place and
 20
      nature of the alleged fraudulent activities.” Walling v. Beverly Enters., 476 F.2d 393,
 21   397 (9th Cir.1973). When a fraudulent statement is alleged, the “plaintiff must set
      forth what is false or misleading about [the] statement, and why it is false.” In re
 22
      GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir.1994) (en banc).4 In other
 23   words, the plaintiff must “set forth, as part of the circumstances constituting fraud, an
      explanation as to why the disputed statement was untrue or misleading when
 24
      made.” Id. at 1549 (emphasis in original). Thus GlenFed requires a plaintiff to plead
 25   evidentiary facts and the court to consider what inferences these facts will support—
 26   despite the pitfalls and inefficiencies of such an analysis at the pleading stage, id. at
      1556 (Norris, J., concurring)—and whether they are sufficient to satisfy the specificity
 27   requirement of Rule 9(b) as interpreted by GlenFed.”)
 28

                                                  6
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  1 promissory fraud is not exempted from the strictures of Rule 9(b), and a plaintiff is
  2
      required to plead “facts from which the Court can infer that the allegedly fraudulent
  3
      statements were actually false when made.”); U.S. ex rel. UNITE HERE v. Cintas
  4
  5 Corp., 2008 WL 1767039, at 9 (N.D. Cal. 2008).
  6
            To state a claim, the CFPB must, at a minimum, specify the client, the contract,
  7
      the promise in the contract that was false when made, and to whom it was made
  8
  9 specifically. See U.S. ex rel. UNITE HERE v. Cintas Corp., As the court explained in
 10
      UNITE HERE:
 11
 12         The court finds that Cintas' motion must be GRANTED. Even as to the
            contracts for work performed in South San Francisco, Sacramento,
 13         Chartotte, Yakima, and Nampa, UNITE HERE has not alleged fraud with
 14         particularity as required by Rule 9(b). UNITE HERE still has not alleged,
            as to each specific contract, that Cintas submitted a specific false claim to
 15         the United States or falsely certified on a specific occasion that it had
 16         complied with the SCA with regard to a specific contract.

 17         At most, UNITE HERE has simply alleged that Cintas violated the SCA-
 18         which does not provide a sufficient basis for an FCA claim. “Violations of
            laws, rules, or regulations alone do not create a cause of action under the
 19         FCA,” as “[i]t is the false certification of compliance which creates
 20         liability when certification is a prerequisite to obtaining a government
            benefit.” Hopper, 91 F.3d at 1266.
 21
 22 2008 WL 1767039, at 9 (N.D. Cal. 2008); see also Raymond v. Merrill Lynch, Pierce,
 23 Fenner & Smith, 1991 WL 520500, at 6 (C.D. Cal. 1991), aff'd sub nom. Raymond v.
 24
      Merrill Lynch, Pierce, Fenner & Smith, Inc., 988 F.2d 121 (9th Cir. 1993) (“The
 25
 26 complaint fails to specify where and to whom the alleged misrepresentations were
 27 made.”); U.S. Med. Instruments, Inc. v. CFS N. Am., Inc., 2013 WL 6055387, at 6
 28

                                                 7
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  1 (S.D. Cal. Nov. 13, 2013) (finding that Rule 9(b) required plaintiff to specify
  2
      'to whom' the fraudulent statement was made “particularly given that an exact date
  3
      was not specified” in the pleadings); U.S. Med. Instruments, Inc. v. CFS N. Am., Inc.,
  4
  5 2013 WL 6055387, at 6 (S.D. Cal. 2013) (finding that Rule 9(b) required plaintiff to
  6
      specify 'to whom' the fraudulent statement was made “particularly given that an exact
  7
      date was not specified” in the pleadings).
  8
  9         The CFPB’s answer to the foregoing legal deficiency is the following:
 10
            The Bureau’s Complaint, however, alleges that Defendants provided
 11         substantial assistance to Morgan Drexen’s and Ledda’s acts and practices
 12         that violated both section 310.3(a) of the TSR, which prohibits deceptive
            acts and practices (the deceptive advertisements) and section 310.4 of the
 13         TSR, which prohibits abusive acts and practices (collecting or charging
 14         upfront fees for debt relief services).

 15 (Opposition, P. 10). This statement puts the proverbial cart before the horse. To state a
 16
      claim under the TSR, the CFPB must first allege the“deceptive” act or practice that
 17
 18 purportedly violated this rule in a manner that complies with Federal Rule of Civil
 19 Procedure 9(b). This rule requires the CFPB to identify who was deceived by the
 20
      alleged deception.
 21
 22         Simply stating that every single member of an unspecified group of clients was

 23 deceived is not sufficient. As explained in the Motion, each client relationship is
 24
      different, and the Defendants’ performance within the context of each contractual
 25
 26
 27
 28

                                                   8
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  1 relationship varied with each client. Accordingly, a claim can only pleaded on an
  2
      individual client-by-client basis.4
  3
                                                III
  4
  5          REPLY TO OPPOSITION RE ATTORNEY EXEMPTION ISSUE
  6
            In the Opposition, the CFPB presents the following rather superficial argument
  7
      in response to the Defendants’ contention that the claims alleged are barred by the
  8
  9 practice of law exclusion in 12 U.S.C. § 5517(e):
 10
            Paragraph (3) of section 5517(e) makes clear that the Bureau has
 11         authority to enforce the TSR against attorneys. Paragraph (3) provides:
 12         “Paragraph (1) shall not be construed so as to limit the authority of the
            Bureau with respect to an attorney, to the extent that such attorney is
 13         otherwise subject to any of the enumerated consumer financial laws or
 14         the authorities transferred under subtitle F or H.”8 Here, the Bureau has
            only brought claims against Defendants under the TSR.9 The
 15         authority to enforce the TSR was transferred to the Bureau under
 16         subtitle H. And the TSR does not contain an exemption for attorneys.11
            Thus, the Bureau has the authority to enforce the TSR against attorneys,
 17         including these Defendants.
 18
      (Opposition, P. 3).
 19
 20         This argument is contrary to the statute’s plain language, which is quoted

 21 below:
 22
             (e)Exclusion for practice of law
 23         (1) In general
 24
 25  For example, the CFPB clearly cannot allege a case of promissory fraud within the
      4


 26 parameters of Federal Rule of Civil Procedure 11, where the Defendants performed the
    promised services under the bankruptcy retainer agreement and they were paid for
 27 these services as provided in the contract. Yet, that is exactly what they are purporting
 28 to do in the broad sweep in the complaint.

                                                 9
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  1         Except as provided under paragraph (2), the Bureau may not exercise
            any supervisory or enforcement authority with respect to an activity
  2
            engaged in by an attorney as part of the practice of law under the laws
  3         of a State in which the attorney is licensed to practice law.
            (2) Rule of construction
  4
            Paragraph (1) shall not be construed so as to limit the exercise by the
  5         Bureau of any supervisory, enforcement, or other authority regarding
            the offering or provision of a consumer financial product or service
  6
            described in any subparagraph of section 5481(5) of this title--
  7         (A) that is not offered or provided as part of, or incidental to, the
            practice of law, occurring exclusively within the scope of the attorney-
  8
            client relationship; or
  9         (B) that is otherwise offered or provided by the attorney in question
            with respect to any consumer who is not receiving legal advice or
 10
            services from the attorney in connection with such financial product or
 11         service.
 12         (3) Existing authority
            Paragraph (1) shall not be construed so as to limit the authority of the
 13         Bureau with respect to any attorney, to the extent that such attorney is
 14         otherwise subject to any of the enumerated consumer laws or the
            authorities transferred under subtitle F or H.
 15
 16 12 U.S.C. § 5517(e).
 17         The general rule enunciated in Section (e)(1) is the CFPB cannot exercise
 18
      “any” supervisory or enforcement authority with respect to “an activity engaged in by
 19
 20 an attorney as part of the practice of law.” 12 U.S.C. § 5517(e) (1). The narrow
 21 clarification in subparagraph (3) of Section 5517(e) cited by the CFPB is merely
 22
      intended to make it clear that an attorney who is engaging in an “activity” that is not
 23
 24 “part of the practice of law” can be regulated as to that “other” activity under any
 25 other applicable consumer law.
 26
           The word “otherwise” in subparagraph (3) of Section 5517(e)(3) is the
 27
 28 guidepost. This word means “in other respects”, or “in different circumstances”, as

                                                 10
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  1 defined in Merriam Webster Dictionary.” The interplay between the general rule in
  2
      subparagraph (1) and subparagraph (3) of Section 5517(e) becomes clear when these
  3
      synonyms are inserted in the place of the world “otherwise”:
  4
  5         Paragraph (1) shall not be construed so as to limit the authority of the
            Bureau with respect to any attorney, to the extent that such attorney is
  6
            in other respects (as in respects outside the “practice of law) subject
  7         to any of the enumerated consumer laws or the authorities transferred
            under subtitle F or H.
  8
  9 Again, subparagraph (3) of Section 5517(e) is merely stating that if an attorney
 10
      engages in an activity that is not “part of the practice of law”, he or she does not
 11
 12 escape regulation by the CFPB under another consumer law simply by virtue of the
 13 individual’s status as “an attorney.”
 14
            The part of the Congressional Record cited by the CFPB in the Opposition
 15
 16 actually makes exactly the foregoing point:
 17         At the same time, the Committee worked to clarify that this protection
 18         for the practice of law is not intended to preclude the new Bureau from
            regulating other conduct engaged in by individuals who happen
 19         to be attorneys or to be acting under their direction, if the conduct is
 20         not part of the practice of law or incidental to the practice of law . . . .
            Section 1027(e)(3) makes clear that existing federal regulatory
 21         authority over activities of attorneys, either under enumerated
 22         consumer laws as defined in the bill, or transferred to the new Bureau
            from existing agencies under subtitle F or H of Title X, the Consumer
 23         Financial Protection Bureau title, is not diminished.19 (Emphasis
 24         added.)

 25 (P. 6, Opposition) (emphasis added); Conference Report on H.R. 4173, Dodd-Frank
 26
    Wall Street Reform and Consumer Protection Act, 111th Cong. 156 Cong. Rec. 105,
 27
 28 at E1347-E1349 (2010) (statement of Hon. John Conyers, Jr., Chairman, H. Judiciary

                                                  11
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  1 Comm.). This quote from Representative Conyers is dispositive. It states that the
  2
      intent of Section 5517(e) is to allow the CFPB to supervise and regulate activity
  3
      engaged in by attorneys that “is not part of the practice of law or incidental to the
  4
  5 practice of law.”
  6
            The CFPB’s fall back position, to wit, the Defendants were not engaged in the
  7
      practice of law, is untenable. The threshold for what constitutes the practice of law in
  8
  9 California is a modest one. “Practicing law” includes, but is not limited to appearing
 10
      in court; providing legal advice and counsel; and preparing legal instruments and
 11
 12 contracts that secure a parties’ legal rights. See Estate of Condon, 76 Cal.Rptr.2d 922,
 13 65 Cal.App.4th 1138 (1998).
 14
            Notably, almost any aspect of the services provided in a debt “workout”
 15
 16 context will be deemed the practice of law in California. In In re Glad, 98 B.R. 976,
 17 978 (9th Cir. BAP 1989), the court held that a nonattorney engaged in the practice of
 18
      law by “interview[ing] and solicit[ing] information from the debtor with regard to his
 19
 20 financial status” and “assist [ing] the debtor in preparation of the bankruptcy
 21 schedules.”9 In In re Powell, 266 B.R. 450, 452 (Bankr.N.D.Cal.2001), the court noted
 22
      that “[a] non-lawyer engages in the unauthorized practice of law when he or she
 23
 24 determines for a party the kind of legal document necessary in order to effect the
 25 party's purpose.” See also In re Boettcher, 262 B.R. at 96 (holding that it was the
 26
    unauthorized practice of law for a bankruptcy petition preparer to prepare a “fill in the
 27
                                                                 10
 28 blank” motions to dismiss for a continuance for the debtor). Interpreting legal terms

                                                  12
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  1 constitutes the practice of law. For example, in Taub v. Weber, 366 F.3d 966 (9th
  2
      Cir.2004)11 the court held that a bankruptcy petition preparer engaged in the
  3
      unauthorized practice of law when he interpreted the terms “market value” and
  4
  5 “secured claim or exemption” in connection with the preparation of bankruptcy
  6
      forms. Id. at 971; see also In re Agyekum, 225 B.R. 695, 702 (9th Cir. BAP 1998)
  7
      (holding that bankruptcy petition preparer use of a bankruptcy handbook which
  8
  9 provided information about the bankruptcy process, information on what to consider
 10
      when filing bankruptcy and a glossary of bankruptcy terms constituted the
 11
 12 unauthorized practice of law). “Soliciting information from a debtor [by use of a
 13 questionnaire] which is then typed into schedules constitutes the unauthorized practice
 14
      of law.” Agyekum, 225 B.R. at 702; see also In re McCarthy, 149 B.R. 162, 166
 15
 16 (Bankr.S.D.Cal.1992); In re Anderson, 79 B.R. 482, 485 (Bankr.S.D.Cal.1987)
 17 (paralegal interviewed debtor, solicited information, prepared bankruptcy schedules,
 18
      advised the debtor of her legal rights vis-a-vis secured collateral and the differences
 19
 20 between a Chapter 13 and a Chapter 7 filing, advised the debtor on the necessity to
 21 file amendments to her schedules to reflect a tax refund, and selected her exemptions).
 22
            A review of the allegations in the Complaint confirms that the acts ascribed to
 23
 24 the Defendants therein, which include renegotiating, settling, reducing, or otherwise
 25 altering the terms of a consumer debt, are “a part of the practice of law” in California.
 26
    Accordingly, pursuant to 12 U.S.C. § 5517(e)(1) the CFPB is barred from supervising
 27
 28 these activities, or pursuing any enforcement action with respect thereto.

                                                 13
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  1         Although the CFPB states that its complaint survives because it alleges that
  2
      clients were duped into signing a bankruptcy retainer when in fact what was being
  3
      proferred were “debt settlement” services, this argument fails.5 Whether the services
  4
  5 being proferred were “workout” services or “bankruptcy services”, they constituted “a
  6
      part of the practice of law” in the state of California. Accordingly, they are not subject
  7
      to regulation by the CFPB.
  8
  9         The CFPB’s commentary on the Am. Bar Assn. v. FTC, 430 F.3d 457 (D.C.
 10
      Cir. 2005) case is neither persuasive nor on point. The issue is not whether the TSR
 11
 12 (which is an FTC promulgated rule, not a statute) contains an attorney exemption, but
 13 whether Congress explicitly expressed an intention to regulate attorneys in the statute
 14
      pursuant to which this rule was issued - the Telemarketing and Consumer Fraud and
 15
 16 Abuse Prevention Act, 15 U.S.C. 6101-6108. A rule passed by the FTC stating that
 17 the FTC has the power to regulate the practice of law does not make it so. As the court
 18
 19
 20   5
        P. 5, Opposition: “The Bureau’s Complaint specifically alleges that Defendants did
 21   not offer their debt relief services as part of any legitimate practice of law. The
      Complaint alleges that Defendants charged consumers upfront fees for debt relief
 22
      services under the guise of “sham bankruptcy-related services that consumers neither
 23   wanted nor needed.”13 In support of this allegation, the Complaint discusses the
      findings in the Morgan Drexen litigation that Morgan Drexen manufactured fake
 24
      bankruptcy petitions to create the false impression that bankruptcy work had been
 25   performed for consumers.14 The Complaint further alleges that one of the
 26   defendants in this case, Williamson & Howard, LLP, worked hand-in-hand with
      Morgan Drexen to manufacture these fake bankruptcy petitions.”
 27
 28

                                                  14
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  1 stated in Am. Bar. Assn. case, only Congress has the power to pass legislation
  2
      effectuating such an astounding change to two centuries of precedent to the contrary,
  3
      and the courts will not import such an intent into the statute. To the contrary, this
  4
  5 intent must “unmistakenly” appear in the text before this interpretation is compelled.6
  6
      Am. Bar Ass'n v. F.T.C., 430 F.3d 457, 471–72 (“
  7
            The case of CFPB v. Frederick J. Hanna & Assocs., 114 F. Supp. 3d 1342
  8
  9 (N.D. Ga. 2015) is also inapposite. In the Hanna case, the defendant was a debt
 10
      collector, and the issue was whether or not the Fair Debt Collection Practices Act
 11
 12 governed debt collection efforts by attorneys, and it clearly did. In this case, the
                                                                      7




 13
 14
 15   6
       Am. Bar Ass'n v. F.T.C., 430 F.3d 457, 471–72 (“It is undisputed that the regulation
      of the practice of law is traditionally the province of the states. Federal law “may not
 16
      be interpreted to reach into areas of State sovereignty unless the language of the
 17   federal law compels the intrusion.” City of Abilene v. FCC, 164 F.3d 49, 52
      (D.C.Cir.1999). Otherwise put, “if Congress intends to alter the ‘usual constitutional
 18
      balance between the States and the Federal Government,’ it must make its intention
 19   to do so ‘unmistakably **383 *472 clear in the language of the statute.’ ” Will v.
      Michigan Dep't of State Police, 491 U.S. 58, 65, 109 S.Ct. 2304, 105 L.Ed.2d 45
 20
      (1989) (quoting Atascadero State Hospital v. Scanlon, 473 U.S. 234, 242, 105 S.Ct.
 21   3142, 87 L.Ed.2d 171 (1985)).”) (emphasis added).
 22   7
        Although a prior version of the FDCPA “contained an express exemption for
 23   lawyers,” which stated that “the term ‘debt collector’ did not include ‘any attorney-at-
      law collecting a debt as an attorney on behalf of and in the name of a client.’”
 24
      Id. (quoting Pub.L. No. 95–109, § 803(6)(F), 91 Stat. 874, 875 (1977)), Congress later
 25   “repealed this exemption in its entirety, without creating a narrower, litigation-related,
 26   exemption to fill the void.” Heintz v. Jenkins, 514 U.S. 291, 294, 115 S.Ct. 1489,
      1490 (1995). Based upon this prior legislative course, the Hanna court concluded that
 27   Congress must have “intended that lawyers be subject to the Act whenever they meet
 28   the general ‘debt collector’ definition.” Id. at 295, 115 S.Ct. at 1491.


                                                  15
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  1 legislative history of the CFPA confirms that Congress was specifically not
  2
      authorizing the CFPB to regulate the practice of law. Nor is there any Congressional
  3
      direction, in passing the TCPA, permitting the FTC to regulate the practice of law.
  4
  5 Accordingly, this intent should not be read into this statute or into the TSR. Am. Bar
  6
      Assn. v. F.T.C., 430 F.3d 457, 471–72; see also Am. Bar Assn. v. F.T.C., 671 F. Supp.
  7
      2d 64, 75 (D.D.C. 2009), vacated and remanded, 636 F.3d 641 (D.C. Cir. 2011)
  8
  9 (Noting the key distinction between a “customer” as referenced in the consumer
 10
      regulation statutes and a “client”.).
 11
 12                                              IV

 13                 REPLY TO OPPOSITION RE INJUNCTION CLAIM
 14
            In the Opposition, the CFPB does not dispute the fact that it has not alleged that
 15
 16 the Defendants are engaged in debt relief work. Nor does it dispute the Defendants’
 17 contention that no work of this kind has occurred for over a year. The CFPB simply
 18
      argues that it has the right to seek an injunction because it is possible the Defendants
 19
 20 may re-enter the debt settlement business in the future.
 21         With all due respect to the CFPB’s perception of its own rights and powers, the
 22
      issue is whether a “case or controversy” exists. Unless and until the CFPB alleges that
 23
 24 an ongoing wrong exists that justifies judicial intervention in the form of an injunction,
 25 this Court has no power to entertain a demand for an injunction. See City of Los
 26
    Angeles v. Lyons, 461 U.S. 95, 102 (1983); Dombrowski v. Pfister, 380 U.S. 479, 485
 27
 28 (1965)(noting “injunctive relief looks to the future”); MacElvain v. United States, 2002

                                                  16
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  1 WL 31083659, at 3 (M.D. Ala. 2002)(“To allege a case or controversy for purposes of
  2
      Article III standing, a plaintiff who seeks injunctive relief cannot rely only on past
  3
      exposure to illegal conduct to establish a present controversy regarding injunctive
  4
  5 relief. Instead, a plaintiff must allege that he faces a “real and immediate threat” that
  6
      he “will again be wronged in a similar way.”).
  7
                                                  V
  8
  9                 REPLY TO OPPOSITION RE JUDICIAL ESTOPPEL
 10
            In the Opposition, the CFPB contends that the Defendants’ judicial estoppel
 11
 12 arguments should be tested using the following factors: (1) is the party’s later position
 13 “clearly inconsistent” with its earlier position; (2) has the party succeeded in
 14
      persuading a court to accept that party’s earlier position, so that judicial acceptance of
 15
 16 an inconsistent position in a later proceeding would create “the perception that either
 17 the first or the second court was misled”; and (3) would the party seeking to assert an
 18
      inconsistent position derive an unfair advantage or impose an unfair detriment on the
 19
 20 opposing party if not estopped.
 21         Addressing the first element, the CFPB states that there is nothing “clearly
 22
      inconsistent” about the lawsuits the Bureau brought against Morgan Drexen and Walter
 23
 24 Ledda and its lawsuit against these Defendants. That was not the argument in the
 25 Motion. In Exhibit A to the Motion, the Defendants identified the contradictions
 26
    between the specific allegations made in the Complaint and the contrary findings made
 27
 28 in Morgan Drexen case. Not one of these fact-by-fact comparisons is addressed in the

                                                  17
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  1 Motion. Instead, as with the Complaint itself, the CFPB has relied upon vague
  2
      unsupported generalities. That is not a sufficient response.
  3
            In fact, as the analysis in the Motion establishes the allegations cited are “clearly
  4
  5 inconsistent” with the cited findings made in the Morgan Drexen case. Accordingly,
  6
      the first element is satisfied. The other elements are also satisfied on the facts. This
  7
      court accepted contrary allegations in Morgan Drexen case to those presented in this
  8
  9 case (see Exhibit A to Motion), and the CFPB is seeking to persuade this court to
 10
      accept these new contrary positions in order to obtain an unfair advantage in its case
 11
 12 against the Defendants.
 13                                               VI
 14
                     REPLY TO OPPOSITION RE ISSUE PRECLUSION
 15
 16         In the Opposition the CFPB contends that “issue preclusion” only applies to a

 17 party who litigated a fact in an earlier case and “lost.” That is not the case. “Issue
 18
      preclusion bars “successive litigation of an issue of fact or law actually litigated and
 19
 20 resolved in a valid court determination essential to the prior judgment,” even if the
 21 issue recurs in the context of a different claim.” Taylor v. Sturgell, 553 U.S. 880, 892,
 22
      128 S. Ct. 2161, 2171 (2008) (emphasis added), citing New Hampshire v. Maine, 532
 23
 24 U.S. 742, 74849, 121 S.Ct. 1808 (2001). The issue is whether the fact was “resolved”,
 25 not who was the winner or the loser in the contest over the point in dispute.
 26
          It is true that most issue preclusion cases involve parties seeking to run away
 27
 28 from adverse or “lost” factual findings. However, that is only true because few parties

                                                  18
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  1 are brazen enough to endeavor to run away from a fact that they established in another
  2
      case, but which is an inconvenience in a second case.
  3
            The analogy that fits the facts of this case is one where a plaintiff who obtained
  4
  5 a fraud ruling assigning 100% the fault and damages to John Smith, files a second
  6
      action seeking to assign 100% of the fault and damages to Stan Jones for the same
  7
      fraud. This course of conduct, which is in play in this case, is barred.
  8
  9                                              VII
 10
                REPLY TO OPPOSITION RE STATUTE OF LIMITATIONS
 11
 12         A claim should be dismissed if the statute of limitations bar is apparent from the

 13 face of the Complaint. Graham v. Taubman, 610 F.2d 821 (9th Cir. 1979); Jablon v.
 14
      Dean Witter & Co., 614 F.2d 677, 682 (9th Cir. 1980). Although the CFPB does not
 15
 16 dispute this legal position in the Opposition, it seeks shelter under the corollary to this
 17 position, to wit, a unless it appears beyond doubt that the plaintiff can prove no set of
 18
      facts that would establish the timeliness of the claim, the claim should not be
 19
 20 dismissed, citing Cornelis v. B & J Smith Assocs. LLC, 2014 WL 1828891, at 7 (D.
 21 Ariz. 2014). The Cornelis case and others like it apply in circumstances where the first
 22
      rule cited above (apparent on the fact of the complaint) does not apply, or where the
 23
 24 plaintiff can make a tolling or “date of discovery” extension argument. Neither
 25 circumstance applies here.
 26
            In this case, the CFPB acknowledges in paragraph 59 of the Complaint that it
 27
 28 filed the complaint against Morgan Drexen on August 20, 2013. Accordingly, no

                                                  19
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  1 tolling or date of discovery arguments apply. The three- year statute of limitations
  2
      bars, at the very least, all claims that arose prior to January 20, 2014. Arguably it bars
  3
      all claims, because the CFPB is alleging a fraudulent “enterprise.” Since this
  4
  5 enterprise was known, and engaged in the purported wrongdoing at issue more than
  6
      three years prior to the date the Complaint was filed (per the admission in paragraph
  7
      59), all of the CFPB’s claims should be deemed time-barred. See United States v.
  8
  9 Motz, 652 F. Supp. 2d 284, 294 (E.D.N.Y. 2009) (holding that ‘‘[t]he fact that
 10
      [defendant] is charged with repeatedly violating the statute over a period of time
 11
 12 pursuant to the same scheme does not transform [securities fraud] into a ‘continuing
 13 offense’ for statute of limitations purposes’’).
 14
                                                 VIII
 15
 16                                       CONCLUSION

 17         The Defendants would respectfully submit that the Complaint should be
 18
      dismissed for the reasons stated in the Motion.
 19
 20 DATED: May 19, 2017                                OKEEFE & ASSOCIATES
                                                       LAW CORPORATION, P.C.
 21
                                                            /s/ Sean A. O’Keefe
 22                                                    By: _________________________
                                                             Sean A. O’Keefe, attorneys for
 23                                                          the defendants
 24
      DATED: May 19, 2017                              THE VANDERPOOL LAW FIRM
 25
                                                            /s/ Doug Vanderpool
 26                                                    By: _________________________
                                                             Doug Vanderpool, attorneys for
 27                                                          the defendants
 28

                                                  20
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                                 EXHIBIT “A” 
    

    
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         [EN BANC ORAL ARGUMENT SCHEDULED FOR MAY 24, 2017]
                                   No. 15-1177


               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT
                         _____________________

                           PHH CORPORATION, et al.,
                                      Petitioners,

                                        v.

               CONSUMER FINANCIAL PROTECTION BUREAU,
                                     Respondent.
                        _____________________

              ON PETITION FOR REVIEW OF AN ORDER OF THE
               CONSUMER FINANCIAL PROTECTION BUREAU
                         _____________________

                      BRIEF FOR THE UNITED STATES
                            AS AMICUS CURIAE
                           _____________________

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      CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

         A.       Parties and Amici

         Except for the following, all parties, intervenors, and amici appearing in this

   Court are listed in the Opening En Banc Brief for Petitioners.

         After this Court granted rehearing en banc, the following newly appeared as

   amici before this Court: The Cato Institute, RD Legal Funding, LLC, RD Legal

   Finance, LLC; RD Legal Partners, LP, Roni Dersovitz, and the States of Missouri,

   Alabama, Arizona, Arkansas, Georgia, Idaho, Indiana, Kansas, Louisiana, Nevada,

   Oklahoma, South Carolina, South Dakota, Texas, West Virginia, and Wisconsin.

         The following have filed a notice of intent to participate as amicus: The

   Attorneys General of the States of Connecticut, Delaware, Hawaii, Illinois, Iowa,

   Maine, Maryland, Massachusetts, Mississippi, New Mexico, New York, North

   Carolina, Oregon, Rhode Island, Vermont and Washington, and the District of

   Columbia.

         B.       Ruling Under Review

         This is a petition for review of a Final Order in In the Matter of PHH Corporation,

   Docket No. 2014-CFPB-0002 (June 4, 2015) [JA 1]. The Bureau’s decision is

   unreported.

         C.       Related Cases

         Counsel are unaware of any related cases within the meaning of Rule

   28(a)(1)(C).
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   Legislative Material:

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                                   GLOSSARY

   CFPB                         Consumer Financial Protection Bureau

   FHFA                         Federal Housing Finance Agency

   FTC                          Federal Trade Commission

   HUD                          Department of Housing and Urban Development




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                          INTRODUCTION AND SUMMARY

          The United States respectfully submits this brief as amicus curiae pursuant to

   Federal Rule of Appellate Procedure 29(a), in order to address the issues posed by the

   Court in its order granting rehearing en banc.

          In 2010, Congress created the Consumer Financial Protection Bureau (CFPB)

   as part of the Dodd-Frank Act, giving the CFPB authority to enforce U.S. consumer-

   protection laws that had previously been administered by seven different government

   agencies, as well as new provisions added by Dodd-Frank itself. See 12 U.S.C.

   § 5581(b). The CFPB is headed by a single Director who is appointed by the

   President, with the advice and consent of the Senate, for a term of five years, id.

   § 5491(b), (c)(1), and who may be removed by the President only for “inefficiency,

   neglect of duty, or malfeasance in office,” id. § 5491(c)(3).

          The panel in this case held that this “for cause” removal provision violates the

   constitutional separation of powers. Op. 9-10. The panel explained—and neither

   party disputes—that, as a general matter, the President has “Article II authority to

   supervise, direct, and remove at will subordinate [principal] officers in the Executive

   Branch” in order to exercise his vested power and duty to faithfully execute the laws.

   Op. 4. The panel recognized as well that Humphrey’s Executor v. United States, 295 U.S.

   602, 629 (1935), established an exception to that rule, holding that Congress may

   “forbid [the] removal except for cause” of members of the Federal Trade
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   Commission (FTC)—a holding that has been understood to cover members of other

   multi-member regulatory commissions that share certain features and functions with

   the FTC. Op. 4.

         The principal constitutional question in this case is whether the exception to

   the President’s removal authority recognized in Humphrey’s Executor should be

   extended by this Court beyond multi-member regulatory commissions to an agency

   headed by a single Director. While we do not agree with all of the reasoning in the

   panel’s opinion, the United States agrees with the panel’s conclusion that single-

   headed agencies are meaningfully different from the type of multi-member regulatory

   commission addressed in Humphrey’s Executor.

         The Supreme Court’s analysis in Humphrey’s Executor was premised on the

   nature of the FTC as a continuing deliberative body, composed of several members

   with staggered terms to maintain institutional expertise and promote a measure of

   stability that would not be immediately undermined by political vicissitudes. A single-

   headed agency, of course, lacks those critical structural attributes that have been

   thought to justify “independent” status for multi-member regulatory commissions.

   Moreover, because a single agency head is unchecked by the constraints of group

   decision-making among members appointed by different Presidents, there is a greater

   risk that an “independent” agency headed by a single person will engage in extreme

   departures from the President’s executive policy. And as the panel recognized, while


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   multi-member regulatory commissions sharing the characteristics of the FTC

   discussed in Humphrey’s Executor have existed for over a century, limitations on the

   President’s authority to remove a single agency head are a recent development to

   which the Executive Branch has consistently objected.

          We therefore urge the Court to decline to extend the exception recognized in

   Humphrey’s Executor in this case. In addition, in our view, the panel correctly applied

   severability principles and therefore properly struck down only the for-cause removal

   restrictions.

                                        STATEMENT

          Congress created the CFPB in 2010, as part of the Dodd-Frank Act, directing

   the Bureau to “seek to implement and, where applicable, enforce Federal consumer

   financial law” in order to ensure that “all consumers have access to markets for

   consumer financial products and services” and that the markets for such products and

   services are “fair, transparent, and competitive.” 12 U.S.C. § 5511(a). The CFPB has

   authority to regulate the consumer-finance industry, including loans, credit cards, and

   other financial products and services offered to consumers. It has power to prescribe

   rules implementing consumer-protection laws; to conduct investigations of market

   actors; and to enforce consumer-protection laws in administrative proceedings and in

   federal court, including through civil monetary penalties. See, e.g., id. §§ 5511(c), 5562,

   5563, 5565. Congress transferred to the CFPB the authority to exercise functions that



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   had previously been spread among seven different federal agencies. Id. § 5581(b).

   Although some of the powers transferred to the CFPB came from multi-member

   commissions whose members are not subject to removal at will by the President,

   functions at issue in this case were transferred from the Department of Housing and

   Urban Development (HUD), a Cabinet agency. The CFPB is also tasked with

   enforcing new statutory requirements related to consumer finance. See, e.g., id. § 5531.

         This case involves a petition for review of a CFPB order requiring PHH

   Corporation to pay $109 million in disgorgement. A panel of this Court vacated the

   order on several statutory and constitutional grounds.

         The CFPB (acting through its own attorneys, see 12 U.S.C. § 5564(b)), sought

   rehearing. This Court invited the Solicitor General to respond to the rehearing

   petition. The brief of the United States supported rehearing en banc, and took issue

   with aspects of the panel’s analysis. The brief did not take a position on the

   constitutionality of the CFPB’s structure, but observed that the “conferral of broad

   policymaking and enforcement authority on a single person below the President,

   whom the President may not remove except for cause, . . . raises a significant

   constitutional question that the Supreme Court has not yet squarely confronted.”

   U.S. Resp. Br. 2. The brief urged that the Court’s analysis should focus on

   “preserving (or appropriately limiting) the powers and roles of each Branch,” rather




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   than on a particular structure’s “impact on individual liberty as a freestanding basis for

   finding a separation-of-powers violation.” Id. at 10, 12. 1

          This Court granted the petition for rehearing en banc, instructing the parties to

   address various specified issues.

                                         ARGUMENT

   I.     H umphrey’s Executor Upheld Removal Restrictions For Members
          Of Multi-Headed Commissions And Should Not Be Extended By
          This Court To The CFPB, Which Is Headed By A Single Director

          A.     Under the Constitution and Supreme Court precedent, the
                 general rule is that the President must have authority to
                 remove Executive Branch agency heads at will.

          Article II of the Constitution provides that the “[t]he executive Power shall be

   vested” in the President, and that he shall “take Care that the Laws be faithfully

   executed.” U.S. Const. art. II, § 1, cl. 1; id. art. II, § 3. These provisions reflect the

   Framers’ intention to create a strong, unitary Executive. See Myers v. United States, 272




          1
             The CFPB has authority to represent itself in federal district courts and
   courts of appeals, and typically does so. 12 U.S.C. § 5564(b). In one case filed against
   several federal agencies and departments, however, the Department of Justice
   represented all government defendants, including the CFPB. The government’s
   district court briefs in that case argued that, based on the Supreme Court’s decision in
   Humphrey’s Executor, the CFPB’s for-cause removal provision is consistent with the
   Constitution. See State National Bank of Big Spring v. Mnuchin, No. 1:12-cv-1032
   (D.D.C.). After reviewing the panel’s opinion here and further considering the issue,
   the Department has concluded that the better view is that the provision is
   unconstitutional. The Department is working with the CFPB to substitute the
   CFPB’s own attorneys in that litigation.


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   U.S. 52, 116 (1926); see also The Federalist No. 70, at 472-73 (J. Cooke ed., 1961)

   (Hamilton). Of particular relevance here, “if any power whatsoever is in its nature

   Executive, it is the power of appointing, overseeing, and controlling those who

   execute the laws.” Free Enterprise Fund v. Public Co. Accounting Oversight Bd., 561 U.S.

   477, 492 (2010) (quoting 1 Annals of Cong. 463 (1789) (Joseph Gales ed., 1834)

   (remarks of Madison)). “[A]s part of his executive power,” the President “select[s]

   those who [are] to act for him under his direction in the execution of the laws.”

   Myers, 272 U.S. at 117; see also U.S. Const. art. II, § 2, cl. 2. Just as the President’s

   ability to “select[௘] . . . administrative officers is essential” to the exercise of “his

   executive power,” so too is his ability to “remov[e] those for whom he cannot

   continue to be responsible.” Myers, 272 U.S. at 117; see also Bowsher v. Synar, 478 U.S.

   714, 726 (1986) (“Once an officer is appointed, it is only the authority that can

   remove him, and not the authority that appointed him, that he must fear and, in the

   performance of his functions, obey.” (quotation marks omitted)).

          Accordingly, “[s]ince 1789, the Constitution has been understood to empower

   the President to keep [executive] officers accountable—by removing them from

   office, if necessary.” Free Enterprise Fund, 561 U.S. at 483. Indeed, the First

   Congress—many of whose members took part in the Constitution’s framing—

   extensively debated the President’s removal authority when creating the Department

   of Foreign Affairs (which later became the Department of State). “The view that


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   ‘prevailed’ . . . was that the executive power included a power to oversee executive

   officers through removal; because that traditional power was not ‘expressly taken

   away, it remained with the President.’௘” Id. at 492 (quoting Letter from James

   Madison to Thomas Jefferson (June 30, 1789), 16 Documentary History of the First Federal

   Congress 893 (2004)). This view “soon became the ‘settled and well understood

   construction of the Constitution.’௘” Id. (quoting Ex parte Hennen, 38 U.S. (13 Pet.) 230,

   259 (1839)).

          Affirming this established understanding, the Supreme Court held in Myers that

   the President’s executive power necessarily includes “the exclusive power of

   removal.” Myers, 272 U.S. at 122. “[T]o hold otherwise,” the Court explained, “would

   make it impossible for the President . . . to take care that the laws be faithfully

   executed.” Id. at 164. The Court thus invalidated a statutory provision that

   “denied . . . the President” the “unrestricted power of removal” of officers appointed

   by the President with the advice and consent of the Senate. Id. at 176; see also id. at

   107.

          In sum, as the Supreme Court recently reaffirmed, the President’s executive

   power “includes, as a general matter, the authority to remove those who assist him in

   carrying out his duties” to faithfully execute the laws. Free Enterprise Fund, 561 U.S. at

   513-14. “Without such power, the President could not be held fully accountable” for

   how executive power is exercised, and “[s]uch diffusion of authority ‘would greatly


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   diminish the intended and necessary responsibility of the chief magistrate himself.’௘”

   Id. at 514 (quoting The Federalist No. 70, at 478).

          Although the Supreme Court has upheld certain “limited restrictions” on the

   President’s general removal power with respect to inferior officers, Free Enterprise

   Fund, 561 U.S. at 495, the Court has recognized only one such restriction with respect

   to principal officers who head agencies: the exception recognized in Humphrey’s

   Executor. See id. at 492-95. As demonstrated below, that exception does not apply to

   the CFPB’s Director, and it should not be so extended.

          B.     H umphrey’s Executor created an exception to the general rule
                 only for multi-member regulatory commissions.

          In Humphrey’s Executor, the Supreme Court upheld a provision of the Federal

   Trade Commission Act establishing that FTC commissioners could be removed only

   for “inefficiency, neglect of duty, or malfeasance in office.” Humphrey’s Executor, 295

   U.S. at 620 (quoting 15 U.S.C. § 41 (1934)). The Court’s conclusion rested on its view

   at the time that the FTC “cannot in any proper sense be characterized as an arm or an

   eye of the executive,” but rather “acts in part quasi-legislatively and in part quasi-

   judicially.” Humphrey’s Executor, 295 U.S. at 628. 2




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             Since that time, the Supreme Court has observed that “the powers of the FTC
   at the time of Humphrey’s Executor would at the present time be considered ‘executive,’
   at least to some degree.” Morrison v. Olson, 487 U.S. 654, 689 n.28 (1988).

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          That characterization of the FTC was based not only on its substantive

   functions, but also on its structural features as an “administrative body.” See

   Humphrey’s Executor, 295 U.S. at 628. The FTC had five members with staggered

   terms, and no more than three of them could be of the same political party. See id. at

   619-20. The Court thus emphasized early in its opinion that the FTC was “called

   upon to exercise the trained judgment of a body of experts” and was “so arranged

   that the membership would not be subject to complete change at any one time.” See

   id. at 624. Indeed, the direct relationship perceived between those structural features

   and the restriction on the President’s removal power was underscored by the fact that

   they all were enacted in the same statutory section. 15 U.S.C. § 41 (1934), quoted in

   Humphrey’s Executor, 295 U.S. at 620.

          The holding in Humphrey’s Executor has been understood to encompass other

   multi-member commissions with features and functions similar to those of the FTC.

   See, e.g., Wiener v. United States, 357 U.S. 349, 355-56 (1958) (holding that “[t]he

   philosophy of Humphrey’s Executor࣠” precludes at-will removal of members of the War

   Claims Commission, a three-member body that was charged with adjudicating war-

   related compensation claims); see also Free Enterprise Fund, 561 U.S. at 483 (“In

   Humphrey’s Executor, we held that Congress can, under certain circumstances, create

   independent agencies run by principal officers appointed by the President, whom the

   President may not remove at will but only for good cause.” (citation omitted));


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   Morrison v. Olson, 487 U.S. 654, 724-25 (1988) (Scalia, J., dissenting) (“[R]emoval

   restrictions have been generally regarded as lawful for so-called ‘independent

   regulatory agencies,’ such as the Federal Trade Commission, the Interstate Commerce

   Commission, and the Consumer Product Safety Commission, which engage

   substantially in what has been called the ‘quasi-legislative activity’ of rulemaking . . . .”

   (citations omitted)).

          As the panel noted, it is “not merely accidental or coincidental” that the

   “independent agencies” that were established and understood to be covered by

   Humphrey’s Executor have been “multi-member” bodies. Op. 48. Rather, it has been

   generally recognized that the removal restriction is a concomitant of—indeed,

   “inextricably bound together” with—a continuing deliberative body. Op. 48-49

   (citing various sources). Thus, as an extensive study of independent agencies

   conducted in 1977 by the Senate Committee on Governmental Affairs concluded,

   “[t]he size of the commission, the length of the terms, and the fact that they do not all

   lapse at one time are key elements of the independent structure.” S. Comm. on

   Governmental Affairs, Study on Federal Regulation, S. Doc. No. 95-91, vol. 5, at 35

   (1977). These features, typically accompanied by a limitation on the President’s

   removal authority, were “the basic structural features which [had] marked every

   independent regulatory commission, beginning with the” Interstate Commerce




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   Commission in the 1880s. Id. at 36; see also Interstate Commerce Act, ch. 104, § 11, 24

   Stat. 379, 383 (1887); Act of Mar. 2, 1889, ch. 382, § 6, 25 Stat. 855, 861-62.

         The structure of multi-member agencies with staggered-term memberships was

   designed to promote long-term continuity and expertise, and that goal was thought to

   be furthered by restricting the President’s power to remove the members of such

   agencies. As the 1977 Senate study observed, “regulatory policies would tend to be

   more permanent and consistent to the extent that they were not identified with any

   particular administration or party,” and “[a]brupt change would therefore be

   minimized.” Study on Federal Regulation, vol. 5, at 29-30; see also 51 Cong. Rec. 10,376

   (1914) (contemplating that Federal Trade Commission “would have precedents and

   traditions and a continuous policy and would be free from the effect of . . . changing

   incumbency”).

         In addition, the structure of multi-member agencies was designed to facilitate

   deliberative group decision-making, and that goal too was thought to be furthered by

   removal restrictions. In fact, the Senate study concluded that the “[c]hief”

   consideration in determining whether to create an independent commission, rather

   than a standard executive agency, “is the relative importance to be attached to group

   decision-making.” Study on Federal Regulation, vol. 5, at 79. Similarly, Professor

   Kenneth Culp Davis expressed the view that independent commissions are created

   primarily because they exercise adjudicative functions, and that these bodies should


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   have multiple members “just as we want appellate courts to be made up of plural

   members, to protect against the idiosyncracies of a single individual.” Kenneth Culp

   Davis, Administrative Law of the Seventies 15 (1976); see also Op. 45 (noting that “unlike

   single-Director independent agencies, multi-member independent agencies ‘can foster

   more deliberative decision making’௘” (quoting Kirti Datla & Richard L. Revesz,

   Deconstructing Independent Agencies (and Executive Agencies), 98 Cornell L. Rev. 769, 794

   (2013)).

          C.     H umphrey’s Executor should not be extended to the CFPB.

          1. A single-headed independent agency is not covered by an essential aspect of

   the rationale underlying Humphrey’s Executor and independent multi-member

   commissions. The CFPB lacks the structural features that the Supreme Court relied

   upon in part when characterizing the FTC as a “quasi-legislative,” “quasi-judicial”

   “administrative body.” Humphrey’s Executor, 295 U.S. at 628. A multi-member

   commission with staggered-term memberships is established as “a body of experts”

   that by its nature operates in an interactive and deliberative manner, and is “so

   arranged that the membership would not be subject to complete change at any one

   time.” Id. at 624. Restricting the President’s power to remove the members of such

   commissions is thus thought to facilitate deliberative group decision-making and

   promote an inherent institutional continuity.




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          An agency headed by a single officer has none of those attributes. To the

   contrary, it embodies a quintessentially executive structure. “The insistence of the

   Framers upon unity in the Federal Executive—to ensure both vigor and

   accountability—is well known.” Printz v. United States, 521 U.S. 898, 922 (1997); see

   also Clinton v. Jones, 520 U.S. 681, 712 (1997) (Breyer, J., concurring) (describing how

   the Founders “consciously decid[ed] to vest Executive authority in one person rather

   than several,” in contrast with their vesting of legislative and judicial powers in multi-

   member bodies). It has long been recognized that “[d]ecision, activity, secre[c]y, and

   d[i]spatch will generally characterise the proceedings of one man in a much more

   eminent degree[௘] than the proceedings of a greater number.” 3 Joseph Story,

   Commentaries on the Constitution of the United States § 1414, at 283 (1833). The

   Constitution itself specifies the official who must exercise that sort of executive

   power: the President, acting either personally or through subordinate officers who are

   accountable to him and whose actions he can control. The principles animating the

   exception in Humphrey’s Executor do not apply when Congress carves off a portion of

   that quintessentially executive power and vests it in a single principal officer below the

   President who is not subject to the President’s control.

          Insofar as the Supreme Court has retreated from its rationale in Humphrey’s

   Executor in sustaining the FTC structure as “quasi-legislative” and “quasi-judicial,” it is

   particularly significant that the CFPB does not possess the structural features that


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   characterized the FTC. As the Court acknowledged in Morrison, “it is hard to dispute

   that the powers of the FTC at the time of Humphrey’s Executor would at the present

   time be considered ‘executive,’ at least to some degree.” Morrison, 487 U.S. at 689

   n.28. Consequently, it is imperative that an executive agency still seeking to be

   characterized as “quasi-legislative” or “quasi-judicial” under Humphrey’s Executor at

   least have a multi-member structure, with its attributes of a deliberative body designed

   to have accumulated and collective insights and expertise as well as inherent

   institutional continuity. Indeed, given “[t]he difficulty of defining such categories of

   ‘executive’ or ‘quasi-legislative’ officials,” Morrison, 487 U.S. at 689 n.28, extending the

   “limited” Humphrey’s Executor exception for multi-member commissions to single

   agency heads could threaten to swallow the “general” rule of Myers and Article II. See

   Free Enterprise Fund, 561 U.S. at 495, 513. 3

          2. Moreover, a single-headed independent agency creates concerns regarding

   the dispersion of executive power that are greater than those created by a multi-

   member independent commission. Although the President’s removal authority is

   identical in the two cases, a single-headed independent agency presents a greater risk


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           Although Morrison upheld a “good cause” removal restriction for an
   independent counsel who was a “purely executive” official, the Court reasoned that
   the President’s duty to faithfully execute the laws was not impermissibly impaired
   because the prosecutor was “an inferior officer … with limited jurisdiction and tenure
   and lacking policymaking or significant administrative authority.” Morrison, 487 U.S.
   at 689-91. That holding obviously does not apply to any principal officer who heads
   an executive agency, especially the CFPB Director.

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   than a multi-member independent commission of taking actions or adopting policies

   inconsistent with the President’s executive policy. That is so for two related reasons.

         First, whereas a multi-headed commission generally must engage in at least

   some degree of deliberation and collaboration, which tend toward compromise, a

   single Director can decisively implement his own views and exercise discretion

   without these structural constraints. See Op. 46. It is for such reasons that the

   Framers adopted a strong, unitary Executive—headed by the President—rather than a

   weak, divided one. Vesting such power in a single person not answerable to the

   President constitutes a stark departure from that framework.

         Second, the difference in decision-making is reinforced by the difference in the

   timing and composition of appointments to the two types of agencies. For a multi-

   headed commission with staggered terms, the President is generally assured to have an

   opportunity to appoint at least some of its members, and the bipartisan-membership

   requirement that is common for such commissions further increases the likelihood

   that at least some of the holdover members share the President’s views. See Op. 58.

   By contrast, where a single Director has a term greater than four years (as is true for

   the CFPB), a President may never get to appoint the Director. See id. An agency

   where a President lacks control over both back-end removal and front-end

   appointment represents a further departure from the constitutional design.




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         To be sure, the frequency with which the threat of extreme departures from the

   President’s executive policy materializes will depend on the particular circumstances,

   but the “added” risk of such departures “makes a difference.” See Free Enterprise Fund,

   561 U.S. at 495. Whereas the interference with executive power was mitigated in

   Morrison by the independent counsel’s limited authority, and mitigated in Humphrey’s

   Executor by the FTC’s multi-member nature, the CFPB’s interference with executive

   power is exacerbated by both its single-headed nature and its wide-ranging policy

   making and enforcement authority over private conduct.

         3. Furthermore, unlike multi-member independent commissions, single-

   headed independent agencies are a relatively novel innovation. In the separation-of-

   powers context, “the lack of historical precedent” for a new structure is “[p]erhaps the

   most telling indication of [a] severe constitutional problem.” Free Enterprise Fund, 561

   U.S. at 505; see also NLRB v. Noel Canning, 134 S. Ct. 2550, 2559 (2014) (“௘‘[L]ong

   settled and established practice is a consideration of great weight in a proper

   interpretation of constitutional provisions’ regulating the relationship between

   Congress and the President.” (quoting The Pocket Veto Case, 279 U.S. 655, 689 (1929))).

   In Free Enterprise Fund, for instance, because “historical practice had settled on one

   level of for-cause removal for a President to remove the head of an independent

   agency,” Op. 42, the Court declined to extend Humphrey’s Executor to a “novel

   structure”: two layers of for-cause removal. Free Enterprise Fund, 561 U.S. at 496. The


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   Supreme Court has thus been reluctant to expand Humphrey’s Executor to “new

   situation[s] not yet encountered by the Court.” Id. at 483.

         Here, as the panel explained, until relatively recently all independent agencies

   have been structured as multi-member commissions. Op. 27-35. Congress has

   created agencies with a single head subject to for-cause removal on only three other

   occasions.

         First, in 1978, Congress established the Office of Special Counsel as an entity

   with a single head subject to removal only for cause. Op. 31. Among other

   functions, the Office of Special Counsel can seek corrective action through the Merit

   Systems Protection Board for violations of federal civil service personnel principles.

   The Office of Legal Counsel opposed the for-cause removal provision, Mem. Op. for

   the Gen. Counsel, Civil Serv. Comm’n, 2 Op. O.L.C. 120 (1978), and President

   Reagan vetoed subsequent legislation regarding the Office of Special Counsel, citing

   “serious constitutional concerns” about the agency’s independent status. See

   Memorandum of Disapproval on a Bill Concerning Whistleblower Protection, 2 Pub.

   Papers 1391, 1392 (Oct. 26, 1988). As the panel noted, moreover, the Office’s

   “narrow jurisdiction” over “government employers and employees” provides no

   historical support for creating a very different single-headed independent agency

   exercising general regulatory and enforcement power over private parties operating in

   a large sector of the economy, such as the CFPB. Op. 31-32.


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         Second, in 1994, Congress made the Social Security Administration a separate

   agency headed by a single Commissioner appointed for a term of six years and

   removable only for cause. Op. 30; see also 42 U.S.C. § 902(a). When appraising the

   bill, President Clinton issued a signing statement noting that “in the opinion of the

   Department of Justice, the provision that the President can remove the single

   Commissioner only for neglect of duty or malfeasance in office raises a significant

   constitutional question.” Statement on Signing the Social Security Independence and

   Program Improvements Act of 1994, 2 Pub. Papers 1471, 1472 (Aug. 15, 1994).

   Moreover, as the panel recognized, the Social Security Administration overwhelmingly

   engages in “supervision of the adjudication of private claims for benefits,” not in

   bringing enforcement actions against private citizens, which makes it an inapposite

   precedent for the CFPB. Op. 30-31.

         Third, the Federal Housing Finance Agency (FHFA), which Congress created

   during the 2008 financial crisis to oversee Fannie Mae and Freddie Mac, is also headed

   by a single Director subject to removal only for cause. Op. 33. We are not aware of

   any Executive Branch comment on its single-director structure at the time of

   enactment of that emergency legislation. In any event, the FHFA is a safety and

   soundness regulator for specified government-sponsored enterprises, namely Fannie

   Mae and Freddie Mac—for which the agency has acted as conservator since its

   inception—as well as federal home loan banks. Compare 12 U.S.C. § 4502(20)


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   (defining “regulated entit[ies]” within jurisdiction of FHFA), with id. § 5481(6)

   (defining “covered person” regulated by the CFPB as “any person that engages in

   offering or providing a consumer financial product or service”). 4

         Thus, to date, the Supreme Court has sanctioned a limitation on the power to

   remove principal officers of the United States only for members of multi-member

   bodies. Neither history nor precedent suggests that Humphrey’s Executor should be

   extended to the CFPB.

         In sum, a removal restriction for the Director of the CFPB is an unwarranted

   limitation on the President’s executive power. This Court should not extend the

   exception established by the Supreme Court in Humphrey’s Executor to undermine the

   general constitutional rule that the President may remove principal officers at will.

   II.   The Panel Correctly Concluded That The For-Cause Removal
         Provision Is Severable From The Remainder Of The CFPB Statutory
         Scheme

         The panel correctly concluded (Op. 65-69) that the proper remedy for the

   constitutional violation is to sever the provision limiting the President’s authority to

   remove the CFPB’s Director, not to declare the entire agency and its operations

   unconstitutional.




         4
            The panel in this case appropriately did not address the application of its
   ruling to other agencies not before the Court.


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          This conclusion follows directly from the Supreme Court’s decision in Free

   Enterprise Fund, which applied the familiar principle that, when “௘‘confronting a

   constitutional flaw in a statute,’௘” courts generally “௘‘try to limit the solution to the

   problem,’ severing any ‘problematic portions while leaving the remainder intact.’௘”

   Free Enterprise Fund, 561 U.S. at 508 (quoting Ayotte v. Planned Parenthood of N. New

   England, 546 U.S. 320, 328-29 (2006)). Even though Congress had not enacted a

   severability clause, the Court there held unconstitutional only the removal restrictions

   pertaining to members of the Public Company Accounting Oversight Board, and

   went on to hold that the proper remedy was to invalidate the removal restrictions,

   leaving the board members removable at will. Id. at 509. The Court reasoned that the

   Sarbanes-Oxley Act would “remain[௘] fully operative as a law with these tenure

   restrictions excised,” and that no evidence suggested that Congress “would have

   preferred no Board at all to a Board whose members are removable at will.” Id.

   (quotation marks omitted).

          Similarly, in Intercollegiate Broadcasting System, Inc. v. Copyright Royalty Board, 684

   F.3d 1332 (D.C. Cir. 2012), this Court held that copyright royalty judges, who are

   charged with setting royalty rates for digital transmissions of recorded music, were

   principal officers who had not been appointed by the President and confirmed by the

   Senate. The Court held that the proper remedy was to invalidate only a provision that

   limited the Librarian of Congress’s ability to remove the judges. Id. at 1340-41. The


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   Court concluded that this remedy “eliminates the Appointments Clause violation and

   minimizes any collateral damage.” Id. at 1340.

          Here, as in those cases, severing the removal restriction is the proper remedy.

   Absent the for-cause removal provision, the Dodd-Frank Act and its CFPB-related

   provisions will remain “fully operative.” Free Enterprise Fund, 561 U.S. at 509. And, as

   in Free Enterprise Fund, there is no evidence that Congress would have preferred no

   Bureau at all to a Bureau whose Director was removable at will. See id. Citing one

   legislator’s statement that Congress sought to create a “completely independent”

   agency, PHH Br. 30, PHH speculates that Congress would have preferred to have no

   agency at all in the absence of a for-cause removal provision. But Congress never

   expressed this sentiment, and the Dodd-Frank Act’s severability clause underscores

   that Congress would not have intended this result. 12 U.S.C. § 5302; see Alaska

   Airlines, Inc. v. Brock, 480 U.S. 678, 686 (1987) (noting that severability clause “creates

   a presumption that Congress did not intend the validity of the statute in question to

   depend on the validity of the constitutionally offensive provision,” and “unless there

   is strong evidence that Congress intended otherwise, the objectionable provision can

   be excised from the remainder of the statute”). While it may be possible to conceive

   of other ways to remedy the constitutional violation, “[s]uch editorial

   freedom . . . belongs to the Legislature, not the Judiciary.” Free Enterprise Fund, 561

   U.S. at 510.


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   III.   The Court Has Discretion To Reach The Constitutionality Of The
          Bureau’s For-Cause Removal Provision, And May Appropriately Do
          So Here

          We previously noted (U.S. Resp. Br. 12-14) that this Court may avoid deciding

   the separation-of-powers question in light of the panel’s ruling on the statutory issues,

   which were the focus of the panel-stage briefing. The United States takes no position

   on the statutory issues in this case, but in the event that the ultimate resolution of

   those issues results in vacatur of the CFPB’s order, it is within this Court’s discretion

   to avoid ruling on the constitutional question. See Northwest Austin Mun. Util. Dist. No.

   One v. Holder, 557 U.S. 193, 205 (2009); see also Op. of Henderson, J., at 8. That said,

   as the case has now been set for plenary briefing and en banc argument on the

   separation-of-powers question, and as that question is likely to recur in pending and

   future cases, it would be appropriate for the Court to provide needed clarity by

   exercising its discretion to resolve the separation-of-powers issue now.

   IV.    The Court’s Decision In L ucia Should Not Affect The Disposition Of
          This Case

          This Court has granted rehearing en banc in Lucia v. SEC, 832 F.3d 277 (D.C.

   Cir. 2016), to consider whether administrative law judges of the Securities and

   Exchange Commission are officers of the United States within the meaning of the

   Appointments Clause. If the Court concludes that these administrative law judges are

   not officers, its holding will not affect the Court’s treatment of the other issues in this

   case. If the Court reaches a different conclusion in Lucia, its decision need not bear


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   on the proper disposition of this case. In addition to deciding the separation-of-

   powers question, the panel vacated the CFPB’s order on due process and statutory

   grounds; a conclusion that the administrative law judge who heard PHH’s case was

   unconstitutionally appointed could only provide an additional, independent ground

   for vacatur. If the CFPB pursues sanctions against PHH in new proceedings on

   remand, such proceedings will, of course, need to be consistent with the outcome in

   Lucia. That prospect should not affect this Court’s determination whether to reach

   the separation-of-powers question at this time.

                                     CONCLUSION

         For the foregoing reasons, the for-cause removal provision should be

   invalidated and severed from the remainder of the Dodd-Frank Act.

                                                     Respectfully submitted,

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                         CERTIFICATE OF COMPLIANCE

         I hereby certify that this brief satisfies the type-volume requirements of Rule

   29(a)(5). This brief contains 5,410 words.



                                                  s/ Daniel Tenny
                                                  Daniel Tenny
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                              CERTIFICATE OF SERVICE

         I hereby certify that on March 17, 2017, I filed and served the foregoing with

   the Clerk of the Court by causing a copy to be electronically filed via the appellate

   CM/ECF system. Participants in the case are registered CM/ECF users and will be

   served via the CM/ECF system. I also caused 30 paper copies of the brief to be hand

   delivered to the Court.



                                                   s/ Daniel Tenny
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